Case 8:22-cv-02237-SDM-AAS Document 57-2 Filed 04/05/23 Page 1 of 11 PageID 857




                        EXHIBIT 1
Case 8:22-cv-02237-SDM-AAS Document 57-2 Filed 04/05/23 Page 2 of 11 PageID 858




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


  JAMES BUECHLER and JESSE                       Case No. 8:22-cv-02237
  MARTINEZ, on behalf of themselves
  and all others similarly situated,

            Plaintiffs,
                                                 PLAINTIFFS’ FIRST SET OF
  v.                                             REQUESTS FOR PRODUCTION
                                                 OF DOCUMENTS TO
  RUMBLE INC.,                                   DEFENDANT RUMBLE, INC.

            Defendant.


        Pursuant to Federal Rules of Civil Procedure 26 and 34, Plaintiffs James

 Buechler and Jesse Martinez (“Plaintiffs”) hereby propound their First Set of

 Requests for Production of Documents upon Defendant Rumble, Inc.

 (“Defendant” or “Rumble”), and request that Defendant respond within the time

 period set forth in the Federal Rules of Civil Procedure and any other applicable

 rules and orders.

                                       DEFINITIONS

       1.                 “All” should be construed to include the collective as well as

 the singular and shall mean “each,” “any,” and “every.”

       2.                 “And” and “or” are terms of inclusion and not of exclusion and

 are to be construed to bring within the scope of these requests any documents or

 responses that might otherwise be considered outside their scope.

       3.                 “Any” should be construed to mean “any and all.”
Case 8:22-cv-02237-SDM-AAS Document 57-2 Filed 04/05/23 Page 3 of 11 PageID 859




      4.            “Rumble,” “You,” and “Your” mean Defendant Rumble, Inc.

 and its predecessors and successors in interest; its present and former officers,

 directors, and employees; its parents, subsidiaries, divisions, entities, and

 affiliated companies; and its attorneys, representatives, agents and all other

 persons acting or authorized to act on their behalf, including third-party entities.

      5.            “Complaint” means the complaint filed on September 29, 2022,

 in Buechler et al v. Rumble, Inc., No. 8:22-cv-02237, as may be superseded by any

 subsequent consolidated complaints.

      6.            “Communication” means oral or written communications of

 any kind that transmit information, including electronic communications such as

 emails, online messages, mobile messages, machine-generated messages, and

 facsimiles (including, for example, any exchanged over platforms such as

 Microsoft Outlook, Microsoft Teams, Apple Mail, Gmail, and Slack); telephone

 communications; and letters, memoranda, exchanges of written or recorded

 information, in-person and virtual (e.g., Zoom) meetings, and events that more

 than one person attends. The phrase “communication between” also means

 instances where one party disseminates information that the other party receives

 but does not respond to.

      7.            “Concerning” means, without limitation, the following

 concepts: regarding, in connection with, referring to, relating to, discussing,

 describing, reflecting, dealing with, pertaining to, analyzing, evaluating,

 evidencing, estimating, containing, constituting, studying, surveying, projecting,



                                          2
Case 8:22-cv-02237-SDM-AAS Document 57-2 Filed 04/05/23 Page 4 of 11 PageID 860




 assessing, recording, summarizing, criticizing, reporting, commenting, or

 otherwise involving, in whole or in part.

       8.    “Describe,” when referring to a document, means to state the

 following: (a) the nature (e.g., data, computer code, e-mail, letter, handwritten

 note, PowerPoint) of the document; (b) the title or heading that appears on the

 document; (c) the date of the document and the date of each addendum,

 supplement, or any other addition or change; (d) the identity of the document’s

 author or creator, custodian(s), and any addressees or recipients of the document;

 (e) the present location of the document, and the name, address, position or title,

 and telephone number of the person or persons having custody of the document;

 and (f) the Bates or other control number(s), if any, assigned to the document.

       9.    “Document” shall have the same meaning as used in Rule 34 of the

 Federal Rules of Civil Procedure, and shall be construed in its broadest sense to

 include, without limitation, the final form and all drafts and revisions of any

 paper, electronic, or other substance or thing, original or reproduced, and all

 copies thereof that are different in any way from the original, on which any words,

 letters, numbers, symbols, pictures, graphics, or any other form of information is

 written, typed, printed, inscribed, or otherwise visibly shown, and also every other

 form of stored or recorded information, whether on film, tape, disks, cards,

 computer memories, internet hosting site, or any other medium or device whereby

 stored information can, by any means whatsoever, be printed or otherwise

 recovered, generated or displayed in the form of visible, audible, or otherwise



                                          3
Case 8:22-cv-02237-SDM-AAS Document 57-2 Filed 04/05/23 Page 5 of 11 PageID 861




 perceptible words, letters, numbers, symbols, pictures, or graphics. Each and

 every draft of a document is a separate document for purposes of these requests.

        10.    “Facebook” refers to the company previously known as Facebook,

 Inc. and now known as Meta Platforms, Inc.

        11.    “Facebook ID” means the unique combination of numbers associated

 with a user’s Facebook profile.

        12.    “Identify,” when referring to an individual, means to state the

 following: (a) the individual’s full name; (b) the time period for which You

 employed the individual; (c) the individual’s positions(s) and job title(s); and (d)

 the individual’s duties and responsibilities for each position or title.

        13.    “Personally Identifiable Information” means “information which

 identifies a person as having requested or obtained specific video materials or

 services from a video tape provider,” 18 U.S.C. § 2710(a)(3), including one’s

 Facebook ID, name, address, birthdate, Social Security number, driver’s license

 information, passport information, financial information including bank routing

 and account numbers, and health, disability, or related benefit information, and

 the title, URL, descriptor or similar information that specifies that video content.

        14.    “Pixel” or “Facebook Pixel” means a snippet of programming code

 that, once installed on a webpage, sends information to Facebook.

        15.    “Subscriber” means any person who paid money to Defendant in its

 capacity as a “video tape service provider” under any subscription plan or offering

 in exchange for access to content available on its websites. See 18 U.S.C. §

 2710(a)(1), (4).

                                           4
Case 8:22-cv-02237-SDM-AAS Document 57-2 Filed 04/05/23 Page 6 of 11 PageID 862




       16.    “Video Privacy Protection Act” means 18 U.S.C. § 2710.

       17.    “Websites” means rumble.com and any associated webpages.

                                 INSTRUCTIONS

       1.     Unless otherwise specified, for Defendant’s rumble.com website, the

 relevant time period for purposes of all applicable requests is September 29, 2020

 through the date of Your responses, and includes all documents and information

 relating to events or transactions within this period, even if prepared, received, or

 reviewed outside of this period.

       2.     All Documents are to be produced pursuant to the terms set forth in

 any stipulation or order governing document production in this litigation.

       3.     If any information called for by any Request for Production is

 withheld under a claim of privilege or work product, Defendant must produce a

 privilege log as quickly as possible, but no later than fourteen days after its

 disclosures or discovery responses are due, unless the parties stipulate to, or the

 Court sets, another date. Privilege logs must contain the information set forth in

 Federal Rule of Civil Procedure 26(b)(5) and any other applicable rules or orders.

      4.            If a copy of a requested Document is not identical to any other

 copy of the same Document, by reason of alterations, marginal notes, comments,

 etc., all non-identical copies shall be produced. All Documents that are physically

 attached to each other when located for production shall be left so attached.

      5.            All Documents are to be produced in their entirety, without

 abbreviation or expurgation, including both back and front thereof, with all

 attachments or other matters affixed thereto.

                                           5
Case 8:22-cv-02237-SDM-AAS Document 57-2 Filed 04/05/23 Page 7 of 11 PageID 863




      6.            If You object to any part of a Request for Production, You must

 set forth Your basis for the objection and specify what You agree to produce that

 is responsive to the request.

      7.            If in the course of responding to these Requests for Production,

 You encounter any ambiguity in the Requests for Production, in a definition, or in

 an instruction relevant to the Requests for Production, explain what You find to

 be ambiguous and what construction You used in providing Your response.

      8.            If production of any requested Document is objected to on the

 grounds that production is unduly burdensome, you must describe the burden

 with the amount of specificity that the governing caselaw requires so that Plaintiffs

 (and the Court if necessary) appropriately can assess the merits of any such

 objection.

                          REQUESTS FOR PRODUCTION

 REQUEST FOR PRODUCTION NO. 1: All Documents and Communications

 concerning Plaintiffs.

 REQUEST FOR PRODUCTION NO. 2: A list or lists of all Your subscribers to

 rumble.com.

 REQUEST FOR PRODUCTION NO. 3: All Documents and Communications

 concerning the Facebook Pixel, including the conditions under which the

 Facebook Pixel, and its underlying events and parameters, share (or cause the

 sharing of) data with Facebook.




                                           6
Case 8:22-cv-02237-SDM-AAS Document 57-2 Filed 04/05/23 Page 8 of 11 PageID 864




 REQUEST FOR PRODUCTION NO. 4: All Documents and Communications

 concerning Your decision to implement, and the installation of, the Facebook Pixel,

 and its underlying events and parameters, on the Websites.

 REQUEST FOR PRODUCTION NO. 5: All Documents and Communications,

 including data, concerning the information collected and shared by or through the

 Websites via the Facebook Pixel on each occasion any of Your subscribers request

 or obtain a video on one of the Websites.

 REQUEST FOR PRODUCTION NO. 6: Documents, including data, sufficient to

 show all disclosures of Your subscribers’ Personally Identifiable Information to

 Facebook, including the number of such disclosures, the number of affected

 subscribers, what types of Personally Identifiable Information was disclosed in

 each disclosure, and the identity of the subscriber in each disclosure.

 REQUEST FOR PRODUCTION NO. 7: All Documents and Communications

 concerning the Video Privacy Protection Act or any other domestic federal or state

 privacy law, including Your knowledge of, and efforts to comply with, such laws.

 REQUEST FOR PRODUCTION NO. 8: Documents discussing, referencing or

 summarizing the effect that targeted or similar online advertising or marketing

 efforts or programs that You have purchased, executed, effectuated or otherwise

 participated in with Facebook has had on Your revenues, profits, projections or

 subscriber numbers.

 REQUEST FOR PRODUCTION NO. 9: All Documents and Communications

 concerning Your policies regarding the collection, sharing, or use of data of Your



                                          7
Case 8:22-cv-02237-SDM-AAS Document 57-2 Filed 04/05/23 Page 9 of 11 PageID 865




 Subscribers, including Your legal compliance policies, privacy policies, and terms

 or conditions of use or service.

 REQUEST FOR PRODUCTION NO. 10: Documents sufficient to show the

 number of Your subscribers who visited the Websites and requested or obtained a

 video.

 REQUEST FOR PRODUCTION NO. 11: All inquiries, comments or complaints

 received by You concerning the sharing of subscriber information with any third

 party (including Facebook).

 REQUEST FOR PRODUCTION NO. 12: Website code, technical documentation,

 technical papers, and computer source code sufficient to show the manner in

 which the Websites operated to collect and transmit subscribers’ Personally

 Identifiable Information by or through the Facebook Pixel, and its underlying

 events and parameters, installed on the Websites.

 REQUEST FOR PRODUCTION NO. 13: All Documents and Communications

 exchanged between You and Facebook, including all contracts and agreements

 between You and Facebook, all payments or other forms of consideration

 exchanged between You and Facebook, all e-mails, letters, reports, or memos, and

 all advertising, marketing, or sales materials, brochures, or presentations.

 REQUEST FOR PRODUCTION NO. 14: All Documents and Communications

 that you intend to introduce as exhibits, rely on, or otherwise use in the defense of

 this lawsuit.

 REQUEST FOR PRODUCTION NO. 15: All Documents and Communications

 regarding this lawsuit or any other lawsuit alleging violations of the VPPA arising

                                           8
Case 8:22-cv-02237-SDM-AAS Document 57-2 Filed 04/05/23 Page 10 of 11 PageID 866




  out of the use of the Facebook Pixel, excluding privileged communications

  between You and Your counsel.

  REQUEST FOR PRODUCTION NO. 16: All Documents and Communications

  reflecting targeted advertising, advertising segments, cohorts, interest groups,

  lookalike audiences, categories, or custom audiences that Your subscribers belong

  to, including those that relate to Facebook advertising or were created as a result

  of actions subscribers took on the Websites.

  REQUEST FOR PRODUCTION NO. 17:                 Organizational charts and similar

  Documents identifying Your directors, officers and employees and their titles or

  job positions.

  Dated: December 30, 2022
                                        Respectfully submitted,
                                        /s/ Christopher J. Cormier
                                        _____________________________________
                                        Christopher J. Cormier (pro hac vice)
                                        BURNS CHAREST LLP
                                        4725 Wisconsin Avenue, NW
                                        Washington, DC 20016
                                        Tel: (202) 577-3977
                                        ccormier@burnscharest.com

                                        Hannah M. Crowe (pro hac vice)
                                        Lauren M. Cross (pro hac vice)
                                        BURNS CHAREST LLP
                                        900 Jackson Street, Suite 500
                                        Dallas, TX 75202
                                        Tel: (469) 904-4550
                                        hcrowe@burnscharest.com
                                        lcross@burnscharest.com

                                        Rachel Geman (pro hac vice)
                                        LIEFF CABRASER HEIMANN & BERNSTEIN LLP
                                        250 Hudson Street, 8th Floor
                                        New York, NY 10013

                                           9
Case 8:22-cv-02237-SDM-AAS Document 57-2 Filed 04/05/23 Page 11 of 11 PageID 867




                                     Tel: (212) 355-9500
                                     rgeman@lchb.com
                                     dcuthbertson@lchb.com

                                     Michael K. Sheen (pro hac vice)
                                     LIEFF CABRASER HEIMANN & BERNSTEIN LLP
                                     275 Battery Street, 29th Floor
                                     San Francisco, CA 94111
                                     Tel: (415) 956-1000

                                     Shawn M. Kennedy (pro hac vice)
                                     HERRERA KENNEDY LLP
                                     4590 MacArthur Blvd., Suite 500
                                     Newport Beach, CA 92660
                                     Tel: (949) 936-0900
                                     skennedy@herrerakennedy.com

                                     Nicomedes Sy Herrera (FL Bar No 1029853)
                                     HERRERA KENNEDY LLP
                                     5072 Annunciation Circle, Suite 207
                                     Ave Maria, FL 34142
                                     Tel: (510) 422-4700
                                     nherrera@herrerakennedy.com

                                     Attorneys for Plaintiffs and the Proposed Class




                                       10
